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 6

 7
                            UNITED STATES DISTRICT COURT
 8
                          SOUTHERN DISTRICT OF CALIFORNIA

 9
      UNITED AFRICAN-ASIAN                    Case No: '24CV1377 CAB BLM
10    ABILITIES CLUB, ON BEHALF
11
      OF ITSELF AND ITS                       COMPLAINT
      MEMBERS; JAMES LEE, An
12    Individual                              DISCRIMINATORY
13                                            PRACTICES
                          Plaintiffs,         [US Fair Housing Act of 1988 [42
14
                                              U.S.C. §§ 3600 et seq, §3604(c),
15          v.                                §3604(f)(1-3), et seq.; CA
                                              Government Code 12925, 12927,
16
      MF PANDA NR OWNER (CA)                  12955; CA Civil Code §§ 51, 52,
17    LP; AND DOES 1 THROUGH 10,              54.3
18
      Inclusive
                                              DEMAND FOR JURY TRIAL
19                        Defendants.
20
                                        INTRODUCTION
21
     1.    Plaintiffs make the following allegations in this civil rights action:
22                              JURISDICTION AND VENUE
23   2.      The federal jurisdiction of this action is based on the 42 U.S.C. §§ 3601,
24   3604 et. seq. - the U.S. Fair Housing Act Amendments of 1988 (Defendants’
25
     apartment property consist of four (4) or more residential units), and 42 U.S.C. §
26
     12101 et. seq., the federal Americans With Disabilities Act. Venue is proper in this
27
     United States District Court for the Southern District of California pursuant to 28
28

                      1
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 1
     U.S.C. § 1391(b), because a substantial part of Plaintiffs’ claims arose within said
 2
     Judicial District.
 3
                              SUPPLEMENTAL JURISDICTION
 4
     3.      This United States District Court for the Southern District of California has
 5
     supplemental jurisdiction over the California state claims as alleged in this
 6
     Complaint pursuant to 28 U.S.C. § 1367(a).
 7
                   NAMED DEFENDANTS AND NAMED PLAINTIFFS
 8
     4.    The term Plaintiffs as used herein specifically include the corporate Plaintiff
 9
     entity known as the United African-Asian Abilities Club, On Behalf Of Itself And Its
10
     Members (hereinafter referred to as “Club” or “UAAAC”); and the individual
11
     Plaintiff JAMES LEE (hereinafter referred to as “LEE” or the “named Individual
12
     Plaintiff”. The Plaintiff Club and Plaintiff LEE are sometimes collectively referred
13
     to as the “named Plaintiffs” or “Plaintiffs”.
14
     5.    Plaintiff United African-Asian Abilities Club (UAAAC) is registered and in
15
     good standing as a Nevada corporation. The named individual Plaintiff LEE is a
16
     member of the Plaintiff Club organization.
17
     6. Plaintiffs are informed, believe, and thereon allege that named Defendant MF
18
     PANDA NR OWNER (CA) LP is the operator of the apartment rental business
19
     known as Valle At Fairway Apartments located at 3743-3753 Fairway Drive La
20
     Mesa, CA 91941. Plaintiffs are informed, believe, and thereon allege that Defendant
21

22
     MF PANDA NR OWNER (CA) LP, is the owner, operator, and/or lessor of the real

23
     property located at 3743-3753 Fairway Drive La Mesa, CA 91941 (hereinafter

24
     referred to as the “Property”).

25
     7.    Defendant MF PANDA NR OWNER (CA) LP, is, and at all times mentioned

26
     herein were, a business or corporation or franchise, organized and existing and/or

27
     doing business under the laws of the State of California. Defendants Does 1 through

28

                          2
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 1
     10, were at all times relevant herein subsidiaries, employers, employees, and/or
 2
     agents of the named Defendants.
 3
                                  CONCISE SET OF FACTS
 4
     8.    The named Individual Plaintiff Lee has hip and knee conditions, uses a device
 5
     for mobility, is unable to walk any distance, and also has a vision disability. Plaintiff
 6
     Lee is also a member of the Plaintiff Club. The individual Plaintiff Lee had specific
 7
     dates wherein he intended to go the Defendant’s Property to access Defendants’
 8
     rental services. Plaintiff Lee has actual knowledge of the overt and obvious physical
 9
     and communication barriers at Defendants’ Property. Plaintiff Lee determined that
10
     the open and obvious physical barriers that exist at Defendants’ Property directly
11
     related to his disabilities, and that it would be impossible or extremely difficult for
12
     him to physically access Defendants’ on-site rental services. See ¶¶ 25. Plaintiff
13
     Lee had knowledge of access barriers at the Property and determined that it would be
14
     futile gesture for him to go to the Property on the date that he had intended. The
15
     named Individual Plaintiff Lee was deterred by his actual knowledge of the physical
16
     and communication barriers that exist at Defendants’ Property and also Defendants’
17
     website communication barriers. As used herein, website means any internet website
18
     where Defendants control the content. Exhibit B states the websites controlled by
19

20
     Defendants. Plaintiff Lee also attempted to access Defendants’ rental services on

21
     Defendants websites but experienced great difficulty due to Defendants’ failure to

22
     provide accessible website features.

23
     9. The named Individual Plaintiff Lee attempted to use Defendants’ website to

24
     access Defendants’ online rental services, but had great difficulty due to his

25
     disabilities. The named Individual Plaintiff Lee also could not determine from

26
     Defendants’ website content whether Defendants’ rental services at the property or
27   off the property, and common areas at the property were physically accessible to
28

                      3
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 1
     him. The named Individual Plaintiff Lee requested that Plaintiff Club assist him to
 2
     obtain information regarding the physical accessibility of Defendants’ rental services
 3
     at the property and off-site. In response to the named Individual Plaintiff’s request,
 4
     Plaintiff Club sent one of its members to Defendants’ property. The named
 5
     Individual Plaintiff personally reviewed all the information and photographs of
 6
     Defendants’ property. As a result, the named Individual Plaintiff has actual
 7
     knowledge of the overt and obvious physical and communication barriers to
 8
     Defendants rental service at Defendants’ Property. The named Individual Plaintiff
 9
     determined that the open and obvious physical barriers that exist at Defendants’
10
     Property directly related to his disabilities, and that it would be impossible or
11
     extremely difficult for him to physically access Defendants’ on-site rental services.
12
     See ¶¶ 25. The named Individual Plaintiff Lee had actual knowledge and determined
13
     that it would be futile gesture for him to go to the Property on the date that he had
14
     intended. The named Individual Plaintiff was deterred by his actual knowledge of
15
     the physical and communication barriers that exist at Defendants’ Property and
16
     website. The named Individual Plaintiff made a written request to Defendants’ for
17

18
     an accommodation to have equal access to Defendants’ rental services and to

19
     eliminate the communication and physical barriers to Defendants’ rental services,

20
     both online and at the property. At the end of this action, the named Individual

21
     Plaintiff Lee intends to return to Defendants’ website and Defendants’ property to

22
     obtain rental information and verify that the communication and physical barriers to

23
     Defendants’ rental services are removed.

24
     10.   The named Plaintiff Club is an organization that advocates on the behalf of its

25
     members with disabilities when their civil rights and liberties have been violated.

26
     Plaintiff Club and Plaintiff Lee investigated Defendants’ websites and apartment

27
     Property in June, 2024, and in July, 2024. The named Plaintiffs investigated

28

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 1
     Defendants apartment property and Defendants websites. Plaintiff Club member
 2
     Sharon Riguer investigated the Property on the Internet websites. Additional
 3
     Plaintiff Club members investigated Defendants websites and found that they did not
 4
     provide equal access. The results of the research from Club Member Sharon Riguer
 5
     are contained in the Exhibit B to this Complaint. Club members ascertained that
 6
     Defendants’ rental services at Defendants Property were not physically accessible to
 7
     Plaintiff Lee by a Club member with a disability who went to Defendants’ apartment
 8
     Property, and said Club member attempted to access Defendants’ on-site rental
 9
     services.
10
     11.   Plaintiff Club diverted its time and resources from its normal purposes
11
     because of Defendants’ service, policy, program and physical barriers to Defendants
12
     rental services at Defendants’ websites and Property. Club personnel conducted
13
     detailed Internet searches to determine if Defendants provide large print, deaf
14
     interpreter, therapy animal, the required reasonable accommodation policy, and
15
     required reasonable modification policy. Further, the Club retained contractors to
16
     investigate said policies, to survey the property, to photograph the property, to
17
     investigate when the Property was constructed, to investigate the Property ownership
18
     and to have an access report prepared. Plaintiff Club also diverted staff to
19
     investigate Defendants' Internet presence to determine compliance with the FHA and
20
     ADA. Plaintiff Club also investigated Defendants' written rental materials such as
21

22
     brochures, rental applications and leases. Moreover, Plaintiff Club made an oral

23
     investigation to ascertain Defendants' companion animal, deaf interpreter and

24
     reasonable accommodation and reasonable modification policies. Plaintiff Club also

25
     caused a physical access consultant to be retained to survey Defendants' facility.

26
     Plaintiff Club’s findings regarding Defendants’ rental services and facilities were

27
     incorporated into an Access Report. The Access Report also details the known overt

28

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 1
     and obvious physical access violations at the Property, but it is not intended as an
 2
     exhaustive list of existing violations. Due to these necessary activities to investigate,
 3
     Plaintiff Club’s time and resources were diverted from its normal activity. Plaintiff
 4
     Club suffered injury and also suffered monetary damages due to the diversion of the
 5
     Club’s resources from its normal purposes.
 6
     12.   Plaintiffs allege that Defendants control, operate, and maintain website at
 7
     https://www.valleatfairway.com/ where Defendants offer its rental services.
 8
     Additionally, Defendants provide rental services located at the Property.
 9
     13.   Plaintiffs allege that Defendants’ websites have a close nexus to Defendants’
10
     physical site rental services because the websites refer to Defendants’ rental services
11
     that are offered at Defendants’ property as well as elsewhere off the site. Therefore,
12
     Plaintiffs allege that the websites are also places of public accommodation.
13
     Defendants control the websites to the extent that Defendants can change the website
14
     content to make modifications to comply with the FHA and ADA. Therefore,
15
     Plaintiffs allege that Defendants can modify the content of Defendants’ websites to
16
     improve access for Plaintiffs and people with disabilities.
17
     14.   In this case, the named Plaintiffs allege that the Defendants failed to provide a
18
     TTY number or the text messaging system for Plaintiffs and other people that are
19
     deaf or people with speech conditions. Plaintiff Club members have a speech
20
     disability. Moreover, Plaintiff Club alleges that the Defendants did not modify their
21

22
     websites to eliminate non-readable text to allow the blind and people with low vision

23
     to use the screen reader software to access the information on the website, yet they

24
     also failed to use large print on their websites. See Exhibit B to this Complaint.

25
     Plaintiffs assert that most popular screen reader programs are called Jobs Access

26
     With Speech or “JAWS” and Apple’s VoiceOver Software. Defendants actions

27
     discriminate against Plaintiff Club, specifically Club members who have low vision

28

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 1
     disabilities. Each of the Club members above cannot use the websites controlled by
 2
     the Defendants. Modifications to Defendants’ websites will not fundamentally alter
 3
     the rental services provided and will also not cause an undue burden to Defendants,
 4
     because the cost is less than One Thousand Dollars ($1,000).
 5
     15.   On June 23, 2024, and on a second subsequent date, Plaintiff Club attempted
 6
     to make a request to the Defendants for reasonable accommodation at the property.
 7
     On July 30, 2024, the named individual Plaintiff LEE and Plaintiff Club emailed to
 8
     the Defendants a written request for a reasonable accommodation. In July, 2024,
 9
     Plaintiff LEE and Plaintiff Club, mailed a written request for a reasonable
10
     accommodation. Defendants failed to respond to both Plaintiffs requests for
11
     reasonable accommodation as of the date of the filing of this Civil Complaint.
12
     16.   Plaintiffs are not able to access Defendants rental services due to existing
13
     overt and obvious communication and physical barriers to access Defendants’ rental
14
     services both at its online website and at the property. Due to the overt and obvious
15
     physical barriers as alleged herein below, which are required to be removed,
16
     Plaintiffs requested that Defendants accommodate them to provide access to
17

18
     Defendants’ rental services.
     17.   The named Plaintiffs allege that an accommodation is also obvious when a
19
     whole group of the protected persons requires it. For example, when the public
20
     without disabilities are required to get up to a second level, the public would be very
21

22
     disturbed if they were required to request steps to go up to second level. When the

23
     accommodation is specific to a particular person with a disability, then that person

24
     may be required to make a request, because the accommodation is not obvious.

25
     18.   Plaintiffs allege that they are not required to make a request for reasonable

26
     accommodation and for auxiliary aids when the barriers to communication are overt

27
     and obvious. However, in the present case, Plaintiffs did make such requests for

28

                      7
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 1
     accommodation to eliminate overt and obvious barriers to its rental services
 2
     communications. Plaintiffs allege that providing effective contact information for
 3
     Defendants’ rental services on the internet is an obvious accommodation. The
 4
     general public does not need to request a contact number from the Defendant
 5
     apartment owner or operator when they desire to rent a place. Defendants provide the
 6
     contact number on their website. Therefore, Plaintiffs allege that Defendants are
 7
     required to provide the obvious accommodation of effective communication for
 8
     people that are deaf or with speech impediment on their website without a request.
 9
     Defendants must make their rental services accessible without the need for a prior
10
     request. Furthermore, Defendants have a duty to remove architectural barriers and
11
     communication barriers to their rental services without request.
12
     19. Plaintiffs allege that there is disparate treatment on the internet related to the
13
     amenities being offered to people without disabilities and people with disabilities.
14
     All the below facts and the facts stated elsewhere herein have a disparate impact on
15
     the disability community. The named Plaintiffs experienced and have knowledge of
16
     the below facts that the Plaintiffs ascertained from Defendants’ websites. Defendant
17
     operates an apartment property. The property is located at 3743-3753 Fairway Dr, La
18
     Mesa, CA 91941. The property was built in 1968 and has 2 stories with 68 units. The
19
     rent is approximately: $1,956 - $2,390. The internet provides a wealth of information
20
     regarding the property. The internet advertises that the property has amenities that
21

22
     include: Fees or Deposit, Key Pad, Remote Control, Smart Card, After Hours

23
     Courtesy Patrol, Assigned Off Street Parking, Garden Style Courtyard, Smoking

24
     Units Available, Model Home to View, Privacy Screen Door, Size of Model Home,

25
     BBQ/Picnic Area, Carpet & Vinyl Flooring, Town House Property Only, Laundry

26
     Facilities, Maintenance on site, Property Manager on Site, Pool, Gated, Courtyard,

27
     Picnic Area, Air Conditioning, Ceiling Fans, Disposal, Range, Refrigerator,

28

                      8
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 1
     Application Fee $62, Dogs Allowed, Monthly pet rent $50, Pet Limit 2, Restrictions:
 2
     A refundable $500 pet deposit, and $50 M/pet rent is required for each pet with a
 3
     max of 2 pets allowed per unit. Two pets are allowed per residence. Cats and dogs
 4
     are welcome, but exotic animals are not permitted. All pets must be registered with
 5
     the office and a pet addendum must be on file. Please contact the office if you have a
 6
     service animal or an emotional support animal (ESA). All city ordinances also apply.
 7
     Please call our Leasing Office for complete Pet Policy information. Cats Allowed
 8
     Monthly pet rent $50, Pet Limit 2, Restrictions: A refundable $500 pet deposit, and
 9
     $50 M/pet rent is required for each pet with a max of 2 pets allowed per unit. Two
10
     pets are allowed per residence. Cats and dogs are welcome, but exotic animals are
11
     not permitted. All pets must be registered with the office and a pet addendum must
12
     be on file. Please contact the office if you have a service animal or an emotional
13
     support animal (ESA). All city ordinances also apply. Please call our Leasing Office
14
     for complete Pet Policy information. Lease Options Available months
15
     2,3,4,5,6,7,8,9,10,11,12,13. The property advertises on westsiderentals.com,
16
     trulia.com, forrent.com, zillow.com. It is very important to know that on
17
     westsiderentals.com, trulia.com, forrent.com, zillow.com there is the equal housing
18
     opportunity logo. The plaintiff alleges that there is disparate treatment on the internet
19
     related to the amenities being offered to people without disabilities and people with
20
     disabilities. For example, the tow signage was not installed. The accessible parking
21

22
     space had an access aisle, which was not van accessible. The aisle did not have the

23
     “no parking” included in the access aisle. The office had a high threshold. There was

24
     no International Symbol of Accessibility signage. The Internet does not state the

25
     accessible amenities at all. Also, the statement the “equal housing opportunity

26
     statement” is misleading. In fact, the property is not completely accessible. All the

27
     above facts and the facts stated herein have a disparate impact on the disability

28

                      9
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  1
      community.
  2
      20.   On Defendants’ websites, they allow the public without deafness and without
  3
      speech impairments to participate by providing them with a telephone number to
  4
      call. However, Plaintiff Club members that are deaf and or with speech impairments
  5
      are denied equal access to participate because the Defendants do not have any
  6
      effective communication.
  7
      21.   Defendants provide websites for people without disabilities to benefit from the
  8
      rental services without going to the apartments to learn about the properties.
  9
      However, for people with disabilities that require the access to the facility, the
 10
      Defendants do not provide any information on the websites regarding if the rental
 11
      services located both on or off the property are accessible. Moreover, the Defendants
 12
      provide the telephone number for the public to call to inquire about the rental
 13
      services without providing any effective alternative communications for Plaintiffs
 14
      and other people that are deaf or have speech impairments.
 15
      22.   For people without disabilities, the Defendants provide all of the information
 16
      on their websites. For Plaintiffs with disabilities, Defendants require them to travel to
 17

 18
      the Property to determine if it is accessible, then require them to request the effective

 19
      communication, and then thereafter to request a reasonable accommodation to the

 20
      overt and obvious communication barrier. Therefore, Defendants require Plaintiffs

 21
      and other people with disabilities to suffer a separate benefit.

 22
      23.   Additionally, the named Plaintiffs are alleging photograph discrimination

 23
      related to the physical access of each of the apartments within Exhibit B to this

 24
      complaint. The purpose of Defendants’ internet photographs is to entice perspective
 25   renters to apply online or to contact the Defendants to rent a place. Defendants’
 26   internet photographs only entice people without mobility disabilities. Defendants’
 27   internet photographs exclude any photographs of any accessible features that would
 28

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  1
      aid the Plaintiffs. For example, there is no photograph of accessible parking. There
  2
      are no photographs of the accessible route to the rental services both on or off the
  3
      property. There are photographs of the accessible route to the rental services. There
  4
      are no photographs related to the access to get into and use the rental services. There
  5
      are no photographs related to the accessible route of the common area. There are no
  6
      photographs of the accessible units. In fact, all the photographs lead a person with a
  7
      mobility disability to believe that the apartments are not accessible, or that they must
  8
      have someone go to the properties to make sure it is accessible. However, people
  9
      without disabilities are not required to go to the Property to see if it is accessible.
 10
      24.   Defendants websites and Defendants’ rental services are not integrated for
 11
      people with disabilities as required. Plaintiffs are required to request an
 12
      accommodation. People without disabilities can access the websites and the rental
 13
      services without any problem, but Plaintiffs and other people with disabilities are
 14
      required to request for separate rental services. People with mobility conditions are
 15
      not integrated when using the websites because they must go to the apartments to
 16
      determine if they are accessible, but people without disabilities need only access
 17

 18
      Defendants’ websites to determine they can use them. People that are blind and with

 19
      low vision disabilities must request help to read the website information because the

 20
      printed information is too small, but people without disabilities can access the

 21
      websites without asking for help. Plaintiffs and other people with deafness or people

 22
      with speech condition must ask for help calling the number on the websites, because

 23
      Defendants fail to provide a TTY number to contact, or Defendants fail to provide a

 24
      texting system. Defendants discriminated against the Plaintiffs.
 25
      25.   Plaintiff Club member went to Defendant’s apartment facilities at the Property

 26
      in June, 2024, and on a second subsequent date, to access the rental services. The

 27
      Named Individual Plaintiff has actual knowledge of Defendants’ overt and obvious

 28

                       11
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  1
      physical barriers, that relate to this Plaintiff’s disabilities, to Defendants’ Property
  2
      on-site rental services that this Named Individual Plaintiff intended to visit in June,
  3
      2024, and on a second subsequent date, but this Plaintiff was deterred from accessing
  4
      Defendant’s rental services located on the Property. Defendants provide rental
  5
      information, rental applications, and other rental services on-site at the Property.
  6
      Defendants’ agents confirmed to the Plaintiffs that rental information, rental
  7
      applications, and other rental services were available on-site at the Property.
  8
      Defendants’ rental services at the Property are not accessible. Defendants’ path of
  9
      travel from the sidewalk to the rental services is not accessible since it has excessive
 10
      slopes without handrails and step changes in level along the path. There are
 11
      numerous step changes in level that must be traversed to access the main entrance to
 12
      the complex. The main entrance door leading into the complex fails to have the
 13
      required smooth and uninterrupted surface at the bottom of the door. There is an
 14
      excessive and steep slope without handrails that must be traversed to access
 15
      Defendant’s rental services entry door. Defendants do not provide the required
 16
      directional signage as to the designated path of travel from the sidewalk to
 17
      Defendant’s rental services. Defendant’s rental services entrance door fails to have
 18
      the required strike edge clearance and smooth and level landing of sufficient
 19
      dimensions. Defendant’s rental services entrance is not accessible due to a
 20
      significant step change in level at the rental services door threshold that is not
 21
      beveled or ramped. Defendant’s rental services entrance door fails to have the
 22
      required smooth and uninterrupted surface at the bottom of the door. Additionally,
 23
      Defendant’s rental services entry door is too narrow. The Named Individual Plaintiff
 24
      has mobility disabilities and these step changes in level, excessive slopes, and the
 25
      other stated issues cause the path of travel and the rental services entry to be not
 26
      accessible. Defendants failed to provide any directional signage indicating an
 27
      alternate accessible path of travel to the rental services. Defendants failed to provide
 28

                       12
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  1
      the required fully compliant van accessible disabled parking for the rental services.
  2
      Defendants failed to provide a dimensionally compliant van accessible disabled
  3
      parking space and disabled parking access aisle, the required disabled parking
  4
      signage, including tow away signage, fine signage, ground markings, and failed to
  5
      locate said parking on a level surface and nearest the rental services. Defendants
  6
      also failed to provide compliant tow away signage. The Named Individual Plaintiff
  7
      requires the use of a compliant van accessible disabled parking space to safely exit
  8
      and re-enter the vehicle. Defendants’ failure to provide the required compliant
  9
      disabled parking, disabled parking access aisle, disabled parking disability signage,
 10
      access aisle, and disability ground markings, such that the Named Individual Plaintiff
 11
      is not able to safely park at Defendants’ establishment since the individual Plaintiff
 12
      may be precluded from exiting or re-entering the vehicle if the disabled parking and
 13
      disabled parking signage is not present and others park improperly. Additionally,
 14
      Defendants failed to provide the required accessible path of travel from the parking
 15
      area to the rental services since the existing path of travel has step changes in level
 16
      and slopes that exceed the maximum permitted. Additionally, Defendants overt and
 17
      obvious communication barriers were also present at the rental services in June,
 18
      2024, and on a second subsequent date. Defendants failed to provide any method of
 19
      text communication with their rental services and failed to publish any information
 20
      as to how to initiate text communication contact. The Named Individual Plaintiff
 21
      had actual knowledge of these barriers at Defendants’ Property that Plaintiff intended
 22
      to visit, and the Named Individual Plaintiff was deterred from accessing Defendants’
 23
      rental services at the Property again in August, 2024. See Property photos in Exhibit
 24
      B and Exhibit C.
 25
      26.   Plaintiff Club and the named Individual Plaintiff desire to make sure that
 26
      Defendants’ rental services at Defendants’ property and Defendants’ websites are
 27
      fully accessible to Plaintiff Club’s members, the named Individual Plaintiff, and
 28

                       13
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  1
      other people with disabilities. Plaintiff Club, its Club members, and the named
  2
      Individual Plaintiff all have actual knowledge of Defendants’ discriminatory
  3
      conditions, and they are currently deterred from attempting further access until the
  4
      barriers are removed. Plaintiff Club and the named Individual Plaintiff intend to
  5
      return to Defendants’ Property and Defendants websites at the end of this action to
  6
      obtain rental services, and to verify that the communication and architectural barriers
  7
      are removed. The named Plaintiffs’ intent to return is genuine. In this case, Plaintiff
  8
      Club has numerous members residing near Defendants Property. Plaintiff Club’s
  9
      members have actual knowledge of the discriminatory conditions as alleged herein
 10
      when the Plaintiff Club investigated the Property and the rental services and
 11
      determined that the Club members would not be able to use the rental services due to
 12
      the discriminatory conditions. Therefore, Plaintiff Club members were and are
 13
      deterred from visiting the properties. Plaintiff Members were not required to
 14
      actually visit the properties. See Civil Rights Education & Enforcement Center v.
 15
      Hospitality Properties Trust, 867 F.3d 1093 (9th Cir. 2017). However, a member of
 16
      Plaintiff Cub did visit and attempt to access Defendants’ rental services at
 17

 18
      Defendants’ property. Plaintiff Club and the individual Plaintiff have specific plans

 19
      to visit at the conclusion of this case to obtain rental information and to verify the

 20
      Defendants ceased its discriminatory conduct by removing communication and

 21
      physical barriers to access to the rental services.

 22

 23
       DISCRIMINATORY PRACTICES IN HOUSING ACCOMMODATIONS –

 24
      FAIR HOUSING ACT CLAIMS
 25
      27.   FHA Standing:

 26
            Based on the facts plead at ¶¶ 8 - 26 above and elsewhere herein this

 27
      complaint, Defendants discriminated against Plaintiffs in violation of FHA sections §

 28

                       14
                                                                                  COMPLAINT
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  1
      3604(f)(1- 3) and 42 § 3604(c), as further detailed below. As a result, the present
  2
      named Plaintiffs suffered injury as a result of Defendants discriminatory actions, and
  3
      named Plaintiffs now pray for damages, injunctive relief, declaratory relief, and
  4
      other relief as hereinafter stated. The Federal Fair Housing Act applies to
  5
      Defendants’ apartment complex since it has more than 4 residential units. FHA
  6
      standing is substantially broader than standing under the ADA due to the critically
  7
      important need of adequate availability of housing for the disabled. A potential
  8
      plaintiff is not even required to have an interest in renting a particular property or
  9
      dwelling to have standing. Smith v. Pacific Properties and Development Corp, 358
 10
      F.3d 1097, 1099 (9th Cir 2004) [Testers have standing to bring Fair Housing Act
 11
      claims, Id 1099, 1104]. Under the Act, any person harmed by discrimination,
 12
      whether or not the target of the discrimination, can sue to recover for his or her own
 13
      injury. See Trafficante v. Metropolitan Life Ins. Co., 409 U.S. 205, 212, 93 S.Ct. 364,
 14
      34 L.Ed.2d 415 (1972). “This is true, for example, even where no housing has
 15
      actually been denied to persons protected under the Act.” San Pedro Hotel v City of
 16
      Los Angeles, 159 F.3d 470, 474-475 (9th Cir 1998). In the present case, the named
 17
      Plaintiffs alleged they suffered the injury of discriminatory conduct by Defendants,
 18
      and that the named Plaintiffs suffered monetary and other damages as a result. The
 19
      named Plaintiffs seek injunctive relief as well as damages, both of which are
 20
      available under 42 USC § 3613(c). Assuming arguendo in the present case, that
 21
      prospective injunctive relief was not available to Plaintiffs due to mootness or
 22
      otherwise, which Plaintiffs dispute; the named Plaintiffs are still permitted to recover
 23
      damages under their federal FHA claims. Harris v Itzakhi, 183 F.3d 1043, 1050 (9th
 24
      Cir 1999) [During the appeal in Harris case, the plaintiff therein moved Three
 25
      Thousand (3000) miles away and her injunctive claims became moot. However,
 26
      Plaintiff’s claim for damages survived and was not affected]. In the present case,
 27
      while Plaintiffs can satisfy the injunctive relief prudential standing requirements, the
 28

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                                                                                   COMPLAINT
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  1
      above Ninth Circuit Harris court authority makes it clear that those prudential
  2
      standing requirements for injunctive relief are not applicable to Plaintiffs FHA
  3
      damage claims. Hence, in the present case, Plaintiffs damage claims survive even if
  4
      prospective injunctive relief is not available. The present Plaintiff Club has
  5
      organization standing separately on its own under the FHA. Additionally, under the
  6
      FHA, Plaintiff Club has associational standing to assert its Club member claims
  7
      since it only seeks injunctive and declaratory relief as to its Club members. Plaintiff
  8
      Club and the named Individual Plaintiff have standing with respect to the following
  9
      FHA claims.
 10

 11
      CLAIM I: Discrimination In Violation of 42 § 3604(f)(1) - Failure To Have A
 12
      Policy For Receiving Prospective Tenant Accommodation Requests, Failure To
 13
      Train Staff, And Failure To Make The Policy Known To The Plaintiffs
 14
      28.   Based on the facts plead at ¶¶ 8 - 26 above and elsewhere herein this
 15
      complaint, the named Plaintiffs suffered discrimination by Defendants in violation of
 16
      this FHA section. This FHA statute states it is unlawful to discriminate in the sale or
 17
      rental, or to otherwise make unavailable or deny, a dwelling to any buyer or renter
 18
      because of a handicap of (A) that buyer or renter; (B) a person residing in or
 19
      intending to reside in that dwelling after it is so sold, rented, or made available; or…
 20
      §3604(f)(1) [emphasis added]. See Texas Dept. of Housing and Community Affairs
 21
      v Inclusive Communities Project, 135 S.Ct. 2507, 2519 (2015) [FHA statutory
 22
      scheme permits disparate impact claims, and those type of claims do not require
 23
      intent]. due to Defendants’ communication and architectural barriers, Defendants
 24
      discriminated against Plaintiffs by failing to have a policy, practice, or method for
 25
      Plaintiffs to make a reasonable accommodation request for equal access to their
 26
      rental services on their website or at their Property. Defendants have an affirmative
 27
      duty to have a policy, process to receive such accommodation requests and to
 28

                       16
                                                                                  COMPLAINT
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  1
      respond to said requests. See Giebeler v. M & B Associates, 343 F.3d 1143 (9th Cir.
  2
      2003). As a result, Defendant caused Plaintiffs to suffer disparate impact
  3
      discrimination.
  4

  5
      CLAIM II: Failure to Engage in Interactive Process In Violation Of The Fair
  6
      Housing Act And California Fair Employment And Housing Act
  7
      29.   Based on the facts plead at ¶¶ 8 - 26 above and elsewhere herein this
  8
      complaint, Plaintiffs suffered discrimination by Defendants in violation of FHA
  9
      section § 3604(f)(1) and § 3604(f)(2). Plaintiffs contend that Defendant failed to
 10
      engage in a good-faith interactive process to determine and to implement effective
 11
      reasonable accommodations so that Plaintiffs could gain equal access Defendants’
 12
      rental services, to apply for a lease, or to allow Plaintiffs to access Defendants’ rental
 13
      services both on or off the property and apartments.
 14
      CLAIM III: Discrimination In Violation of 42 § 3604(f)(2)
 15
      30.   Based on the facts plead at ¶¶ 8 - 26 above and elsewhere herein this
 16
      complaint, the named Plaintiffs suffered discrimination by Defendants in violation of
 17
      this FHA section § 3604(f)(2). This FHA section states “it shall be unlawful to
 18
      discriminate against any person in the terms, conditions, or privileges of sale or
 19
      rental of a dwelling, or in the provision of services or facilities in connection with
 20
      such dwelling”. Plaintiffs more specific factual basis for this claim is set forth
 21
      above at ¶¶23-26 above. As previously stated, the named Individual Plaintiff was a
 22
      prospective renter and Plaintiff Club was also seeking rental housing on behalf of the
 23
      named Individual Plaintiff ¶¶8 – 26 above. In the instant case, Defendant’s rental
 24
      services located on the Property or off-site are “services” in connection with the
 25
      rental of a dwelling and the on-site or off-site rental services provided fall within the
 26
      FHA statute. In the instant case, the named Plaintiffs both assert that Defendant’s
 27
      failure to remove communication and architectural barriers to permit access to
 28

                        17
                                                                                   COMPLAINT
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  1
      Defendant’s on-site rental services contained is a separate, independent, actionable
  2
      violation of this FHA section § 3604(f)(2), even without reference to the ADA as a
  3
      predicate. Plaintiffs have alleged that Defendants’ Property has overt and obvious
  4
      physical barriers to access its rental services provided at the property. See ¶¶25 -26.
  5
      The 9th Circuit Smith court stated that the mere observation of overt architectural
  6
      barriers is actionable. Smith at 1104 [“To read an additional standing requirement
  7
      into the statute beyond mere observation, however, ignores that many overtly
  8
      discriminatory conditions, for example, lack of a ramped entryway, prohibit a
  9
      disabled individual from forming the requisite intent or actual interest in renting or
 10
      buying for the very reason that architectural barriers prevent them from viewing the
 11
      whole property in the first instance” (emphasis in original)]. The Smith court found
 12
      Defendants liable under this FHA subsection even though that case did not involve
 13
      ADA Title III claims. However, Plaintiffs did not just allege that Plaintiff Club
 14
      observed Defendant’s overt architectural barriers, but Plaintiffs alleged that a
 15
      Plaintiff Club member experienced the barriers, that the named Individual Plaintiff
 16
      had actual knowledge of Defendants’ communication and architectural barriers and
 17
      Plaintiff LEE was deterred from obtaining equal access to Defendant’s rental
 18
      services located thereon. Defendants also discriminated against Plaintiffs by failing
 19
      to modify its practices and policies to provide access via other methods of access to
 20
      its rental services located on or off the property site. Defendant’s failure to remove
 21
      the architectural and communication barriers to access its facilities and the rental
 22
      services located thereon, or failure to provide an accommodation to provide methods
 23
      of alternate access to their rental services, constitutes the prohibited discrimination,
 24
      separately and independently. Additionally, Defendant’s conduct is also prohibited
 25
      under ADA Title III and constitutes a second, separate, independent source of
 26
      discrimination against Plaintiffs in violation of FHA § 3604(f)(2). Since Defendants
 27
      discriminatory conduct involves Defendants’ rental facilities and its rental services
 28

                       18
                                                                                   COMPLAINT
                                                                                      CASE #
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  1
      located therein, Plaintiffs assert any discriminatory conduct found in violation of
  2
      ADA Title III also constitutes prohibited “discrimination” under FHA § 3604(f)(2).
  3
      CLAIM IV: Discrimination In Violation of 42 § 3604(f)(3)(A and B only)
  4
      31.   Plaintiffs do not make any claim against Defendants for a failure to “design
  5
      and construct” pursuant to § 3604(f)(3)(C). Based on the facts plead at ¶¶ 8 - 26
  6
      above and elsewhere herein this complaint, Plaintiffs suffered discrimination by
  7
      Defendants in violation of FHA sections § 3604(f)(3)(A, B) only. The FHA requires
  8
      that “….[f]or the purposes of this subsection, discrimination includes-- (B) a refusal
  9
      to make reasonable accommodations in rules, policies, practices, or services, when
 10
      such accommodations may be necessary to afford such person equal opportunity to
 11
      use and enjoy a dwelling...” 42 § 3604(f)(3)(B). See also Giebeler v. M & B
 12
      Associates, 343 F.3d 1143 (9th Cir 2003). Defendants improperly refused Plaintiffs’
 13
      repeated written and other requests for an accommodation to have equal access to its
 14
      rental services.
 15
      CLAIM V: Discrimination In Violation of 42 § 3604(c) As To NSA
 16
      32.   Based on information, belief, and the facts plead at ¶¶ 8 – 26 above and
 17
      elsewhere herein, Plaintiffs herein alleges that Defendants caused Plaintiffs to suffer
 18
      the injury of discrimination since Defendants violated 42 U.S.C. §§ 3604 (c) with
 19
      respect to its notices, statements, and advertisements (“NSA”). Plaintiffs allege that
 20
      Defendants discriminated against them when Defendants made, printed, or
 21

 22
      published, or caused to be made printed, or published notices, statements, or

 23
      advertisements (“NSA”) that suggest to an ordinary reader a preference to attract

 24
      tenants without disabilities. Defendants' Internet advertising regarding its rental

 25
      services has an unlawful disparate impact on Plaintiffs.

 26
      SECOND CAUSE OF ACTION : Violation of California Fair Housing Act
 27

 28

                         19
                                                                                 COMPLAINT
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  1
      33.     Failure to Provide Obvious Reasonable Accommodation and Modification:
  2
      Based on information, belief and the facts stated above at ¶¶ 8 – 26 above and
  3
      elsewhere in this complaint, Plaintiffs allege that Defendants refused to make
  4
      reasonable accommodations in rules, policies, practices, or services in violation of
  5
      CA Government Code sections 12927 and 12955.2, when these accommodations
  6
      may be necessary to afford a disabled person equal opportunity to use and enjoy
  7
      Defendants’ rental services. As stated in detail above, Defendants refused to make
  8
      reasonable accommodations with the instant Plaintiffs and discriminated against each
  9
      of them on the basis of disability.
 10

 11
      THIRD CAUSE OF ACTION AGAINST ALL DEFENDANTS- Claims Under
 12
      The Americans With Disabilities Act Of 1990
 13
      34.   ADA Standing:
 14
            ADA Title III does cover public and common use areas at housing
 15
      developments when these public areas are, by their nature, open to the general
 16
      public. An office providing rental services is open to the general public. (See U.S.
 17
      Department of Justice - ADA Title III Technical Assistance Section III-1.2000,
 18
      Illustration 3, office on or off the site covered). The parking and paths of travel to
 19
      the office on or off the site are also covered. See Section III–1.2000, ADA Title III
 20
      Technical Assistance Manual, http://www.ada.gov/taman3.html (“ILLUSTRATION
 21
      3: A private residential apartment complex contains a office on or off the site. The
 22
      office on or off the site is a place of public accommodation”). See Kalani v Castle
 23
      Village, LLC, 14 F.Supp.3d 1359, 1371 (E.D.Cal, 2014)[ citing Johnson v. Laura
 24
      Dawn Apartments, LLC, 2012 WL 33040 at *1 n. 1 (E.D.Cal.2012) (Hollows, M.J.)
 25
      (“[t]he leasing office of an apartment is a place of public accommodation.] . In the
 26
      present case, the named Plaintiffs have also sufficiently alleged that Defendants
 27
      provide rental services at the property. Following prior sister Circuit Courts of
 28

                       20
                                                                                  COMPLAINT
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  1
      Appeals decisions, our Ninth Circuit Court very recently held that an ADA Plaintiff
  2
      can be only a “tester” and have standing. See Civil Rights Education & Enforcement
  3
      Center v. Hospitality Properties Trust, 867 F.3d 1093 (9th Cir. 2017) [the Ninth
  4
      Circuit CREEC court held (1) ADA “tester” standing is valid and a Plaintiff’s
  5
      motivation for visit is “irrelevant”, and (2) an ADA “deterrent effect doctrine” claim
  6
      does not require a Plaintiff to have a personal encounter with the barrier to equal
  7
      access, only to have knowledge of the barrier] citing Havens Realty Corp. v.
  8
      Coleman, 455 U.S. 363, 372–74, 102 S.Ct. 1114 (1982); Smith v. Pacific Properties
  9
      and Development Corp, 358 F.3d 1097, 1102-1104 (9th Cir 2004); Chapman v. Pier
 10
      1 Imports (U.S.) Inc., 631 F.3d 939 (9th Cir 2011, en banc); Houston v. Marod
 11
      Supermarkets, Inc., 733 F.3d 1323, 1335–37 (11th Cir. 2013); Colo. Cross Disability
 12
      Coal. v. Abercrombie & Fitch Co., 765 F.3d 1205, 1210–11 (10th Cir. 2014). In the
 13
      present case, the named Plaintiffs each have ADA standing. Plaintiffs have alleged
 14
      that Defendants discriminated against Plaintiffs in violation of ADA Title III statutes
 15
      and regulations as detailed further in the ADA claims stated below. As a result, the
 16
      named Plaintiffs have each suffered injury and each seek only injunctive and
 17
      declaratory relief pursuant to their ADA Claims.
 18
      CLAIM I: Auxiliary Aids – Failure To Effectively Communicate
 19
      35.   42 United States Code 12182(b)(2)(iii) states, "a failure to take such steps as
 20
      may be necessary to ensure that no individual with a disability is excluded, denied
 21
      services, segregated or otherwise treated differently than other individuals because of
 22
      the absence of auxiliary aids and services, unless the entity can demonstrate that
 23
      taking such steps would fundamentally alter the nature of the good, service, facility,
 24
      privilege, advantage, or accommodation being offered or would result in an undue
 25
      burden;..." Based on the facts plead at ¶¶ 8 - 26 above and elsewhere in this
 26
      complaint, Plaintiffs are informed, believe, and thereon allege that Defendants
 27

 28

                       21
                                                                                 COMPLAINT
                                                                                    CASE #
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  1
      violated said provision. Plaintiffs set forth the factual basis for this claim most
  2
      specifically at ¶¶ 13 -14, 16-24 above. The ADA “applies to the services of a place
  3
      of public accommodation, not services in a place of public accommodation. To limit
  4
      the ADA to discrimination in the provision of services occurring on the premises of a
  5
      public accommodation would contradict the plain language of the statute.” Nat’l
  6
      Fed’n of the Blind v. Target Corp., 452 F. Supp. 2d 946, 953 (N.D. Cal. 2006)
  7
      (emphasis added) (citing Weyer v. Twentieth Century Fox Film Corp., 198 F.3d
  8
      1104, 1115 (9th Cir. 2000) [holding that “whatever goods or services the place
  9
      provides, it cannot discriminate on the basis of disability in providing enjoyment of
 10

 11
      those goods and services”]). An ADA plaintiff may challenge a business’ online

 12
      offerings as well. So long as there is a “nexus”—that is, “some connection between

 13
      the good or service complained of and an actual physical place”—a plaintiff may

 14
      challenge the digital offerings of an otherwise physical business. See Gorecki v.

 15   Hobby Lobby Stores, Inc, 2017 WL 2957736, at *4 (C.D. Cal. June 15, 2017) [Case:
 16   CV 17–1131–JFW (SKx)]. The ADA requires the Defendants to provide effective
 17   communication to the instant Plaintiffs and to people with disabilities. In the
 18   present case, Plaintiffs experienced and have knowledge that Defendants failed to
 19   have a required procedure to provide effective communication. Plaintiffs allege that
 20   Defendants failed to train their staff on the way to use the auxiliary aids. Defendants
 21   did not provide any auxiliary aid and the Defendants did not provide any reasonable
 22   accommodation to the overt and obvious communication barriers, and failed to
 23   respond to Plaintiffs’ requests for accommodation. Plaintiffs are not demanding that
 24   Defendants provide a specific reasonable accommodation or a specific auxiliary aid.
 25   ADA law allows the Defendants to decide what auxiliary aid and reasonable
 26   accommodation will be provided. In this case, however, Defendants failed to
 27   provide any reasonable accommodation for the overt and obvious communication
 28

                       22
                                                                                   COMPLAINT
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  1
      barriers to equal access to their rental services, failed to provide any auxiliary aid,
  2
      and failed to provide any effective communication. Plaintiffs allege that Defendants’
  3
      websites provide a contact number for the general public, but Defendants failed to
  4
      provide Plaintiffs with the required effective communication using texting or other
  5
      alternate means of communication for Plaintiffs and other people with a deaf
  6
      condition or a speech condition. Defendants’ conduct discriminates against Plaintiff
  7
      Club’s members that have hearing disabilities and Club’s members with speech
  8
      disabilities. Defendants are required to provide, on Defendants’ websites, to provide
  9
      a method to effectively communicate with Plaintiff Club members that have hearing
 10

 11
      and speech disabilities, and other people that are deaf or have speech impairments.

 12
      CLAIM II: Denial of Participation

 13
      36.   42 United States Code 12182(b)(1)(A)(i) states, "It shall be discriminatory to

 14
      subject an individual or class of individuals on the basis of a disability or disabilities

 15   of such individual or class, directly, or through contractual, licensing, or other
 16   arrangements, to a denial of the opportunity of the individual or class to participate in
 17   or benefit from the goods, services, facilities, privileges, advantages, or
 18   accommodations of an entity." Based on the facts plead at ¶¶ 8 - 26 above and
 19   elsewhere in this complaint, Plaintiffs are informed, believe, and thereon allege that
 20   Defendants violated said provision. Plaintiffs set forth the factual basis for this claim
 21   most specifically at ¶¶ 20-24 above. Defendants discriminated against Plaintiffs in
 22   violation of 42 United States Code 12182(b)(1)(A)(i) and 42 U.S.C. § 12188.
 23   CLAIM III: Participation in Unequal Benefit
 24   37.   Defendants provide unequal benefit for people with disabilities in violation of
 25   42 United States Code 12182(b)(1)(A)(ii) and 42 U.S.C. § 12188. Based on the facts
 26   plead at ¶¶ 8 - 26 above and elsewhere in this complaint, Plaintiffs are informed,
 27   believe, and thereon allege that Defendants discriminated against Plaintiffs in
 28

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                                                                                    COMPLAINT
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  1
      violation of said provision. Plaintiffs set forth the factual basis for this claim most
  2
      specifically at ¶¶ 20-24 above.
  3
      CLAIM IV: Separate Benefit
  4
      38.   Defendants’ photographs discriminate against Plaintiffs in violation of 42
  5
      United States Code 12182(b)(2)(A)(iii) and 42 U.S.C. § 12188. Based on the facts
  6
      plead at ¶¶ 8 - 26 above and elsewhere in this complaint, Plaintiffs are informed,
  7
      believe, and thereon allege that Defendants discriminated against Plaintiffs in
  8
      violation of said provision. Plaintiffs set forth the factual basis for this claim most
  9
      specifically at ¶¶ 20-24 above.
 10

 11

 12
      CLAIM V: Integrated Settings

 13
      39.   Defendants’ rental services are not integrated for Plaintiffs and people with

 14
      disabilities in violation of 42 United States Code 12182(b)(1)(B) and 42 U.S.C. §

 15   12188. Based on the facts plead at ¶¶ 8 - 26 above and elsewhere in this complaint,
 16   Plaintiffs are informed, believe, and thereon allege that Defendants discriminated
 17   against Plaintiffs in violation of said provision. Plaintiffs set forth the factual basis
 18   for this claim most specifically at ¶¶ 20-24 above.
 19   CLAIM VI: Failure To Modify Practices, Policies And Procedures
 20   40.   Defendants failed and refused to provide a reasonable alternative by
 21   modifying its practices, policies, and procedures in that they failed to have a scheme,
 22   plan, or design to accommodate Plaintiff Club, its Club members, the individual
 23   named Plaintiff, and/or others similarly situated in utilizing Defendants' rental
 24   services, at its websites and at the Property, in violation of 42 United States Code
 25   12182(b)(2)(A)(ii) and 42 U.S.C. § 12188. Based on the facts plead at ¶¶ 8 - 26
 26   above and elsewhere in this complaint, Plaintiffs are informed, believe, and thereon
 27   allege that Defendants discriminated against Plaintiffs in violation of said provision.
 28

                       24
                                                                                    COMPLAINT
                                                                                       CASE #
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  1
      Plaintiffs set forth the factual basis for this claim most specifically at ¶¶ 18-26 above.
  2
      CLAIM VII: Failure To Remove Architectural And Communication Barriers
  3
      41.   Plaintiffs allege that Defendants failed to remove architectural barrier and
  4
      communication barriers as required in violation of 42 United States Code
  5
      12182(b)(2)(A)(iv) and 42 U.S.C. § 12182. Based on the facts plead at ¶¶ 8 - 26
  6
      above and elsewhere in this complaint, Plaintiffs are informed, believe, and thereon
  7
      allege that Defendants discriminated against the named Individual Plaintiff in
  8
      violation of said provision. Plaintiffs set forth the factual basis for this claim most
  9
      specifically at ¶¶ 8,9,20-24,25,26 above. The named Individual Plaintiff personally
 10
      reviewed all the information and photographs of Defendants’ property. As a result,
 11
      the named Individual Plaintiff has actual knowledge of the physical and
 12
      communication barriers that exist at Defendants’ Property. The named Individual
 13
      Plaintiff determined that the physical barriers that exist at Defendants’ property,
 14
      directly relate to his disabilities, and make it impossible or extremely difficult for
 15
      him to physically access Defendants’ rental services at the Property. The named
 16
      Individual Plaintiff was deterred by his actual knowledge of the physical and
 17
      communication barriers that exist at Defendants’ Property which include but are not
 18
      limited to the barriers to facilities and services for disabled parking, exterior path of
 19
      travel to the rental services at the property, entrance and interior, since said
 20
      Defendants’ facilities and rental services were not accessible because they failed to
 21
      comply with the Federal ADA Accessibility Guidelines (“ADAAG”) and California's
 22
      Title 24 Building Code Requirements. See ¶¶ 25 for details. The named Individual
 23
      Plaintiff had actual knowledge of these barriers and determined that it would be
 24
      futile gesture for him to go to the Property on the date that he had originally
 25
      intended. The named Individual Plaintiff is currently deterred from returning due to
 26
      his knowledge of the barriers. At the end of this action, the named Individual
 27
      Plaintiff intends to return to Defendants’ property or off the site location to obtain
 28

                       25
                                                                                   COMPLAINT
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  1
      rental information and verify that the communication and physical barriers to
  2
      Defendants’ rental services are removed. Defendants failure to remove the barriers
  3
      to equal access constitutes discrimination against the named Individual Plaintiff.
  4
      CLAIM VIII: Failure To Make Alterations Readily Accessible And Usable
  5
      42.   Defendants are required to make alterations to their facilities in such a manner
  6
      that, to the maximum extent feasible, the altered portions of the facility are readily
  7
      accessible to and usable by individuals with disabilities, including individuals who
  8
      use devices pursuant to 42 U.S.C. §12183(a)(2). Based on the facts plead at ¶¶ 8 -
  9
      26 above and elsewhere in this complaint, the named Plaintiffs are informed, believe,
 10
      and thereon allege that Defendants violated this provision. Plaintiffs allege that
 11
      Defendants altered their facility in a manner that affects or could affect the usability
 12
      of the facility or a part of the facility after January 26, 1992. In performing the
 13
      alteration, Plaintiffs allege that Defendants failed to make the alteration in such a
 14
      manner that, to the maximum extent feasible, the altered portions of the facility are
 15
      readily accessible to and usable by individuals with disabilities, including individuals
 16
      who use devices, in violation of 42 U.S.C. §12183(a)(2).
 17
      CLAIM IX: Administrative Methods
 18

 19
      43.   Plaintiffs are informed, believe, and thereon allege that Defendants contract

 20
      with website providers without making sure that the websites will be accessible to

 21
      people with disabilities in violation of 42 United States Code 12182(b)(1)(B) and 42

 22
      U.S.C. § 12188. Based on the facts plead at ¶¶ 8 - 26 above and elsewhere in this

 23
      complaint, Plaintiffs are informed, believe, and thereon allege that Defendants
 24   discriminated against the named Individual Plaintiff in violation of said provision.
 25   Plaintiffs set forth the factual basis for this claim most specifically at ¶¶18-26 above.
 26   CLAIM X: Screen Out
 27   44.   Plaintiffs are informed, believe, and thereon allege that Defendants screened
 28

                       26
                                                                                   COMPLAINT
                                                                                      CASE #
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  1
      out Plaintiffs and other people with disabilities in violation of 42 United States Code
  2
      12182(b)(2)(A)(i) and 42 U.S.C. § 12188. Based on the facts plead at ¶¶ 8 - 26
  3
      above and elsewhere in this complaint, Plaintiffs are informed, believe, and thereon
  4
      allege that Defendants discriminated against the named Plaintiffs in violation of said
  5
      provision. Plaintiffs set forth the factual basis for this claim most specifically at ¶¶ 8
  6
      - 26 above. Defendants screened out the named Plaintiffs from its rental services and
  7
      processes, because Defendants failed to remove architectural and communication
  8
      barriers to its website and property, failed to provide required effective alternate
  9
      communication methods, and failed to provide required auxiliary aids.
 10

 11
      CLAIM XI: Denial Of Full And Equal Access
 12
      45.   Defendants are required to provide full and equal access to Defendants' rental
 13
      services, goods, facilities, privileges, advantages, or accommodations pursuant to 42
 14
      United States Code 12182(b) and 42 U.S.C. § 12188. Based on the facts plead at ¶¶
 15
      8 - 26 above and elsewhere in this complaint, Plaintiffs are informed, believe, and
 16
      thereon allege that Defendants discriminated against the named Plaintiffs in violation
 17
      of said provision. Plaintiffs set forth the factual basis for this claim most specifically
 18
      at ¶¶ 8 - 26 above.
 19

 20
      CLAIM XII: Failure To Investigate And Maintain Accessible Features
 21

 22
      46.    Defendants made repairs and administrative changes which violated ADA and

 23
      its regulations. See ADA Title III Regulations Sec.36.211 Maintenance of accessible
 24   features. Based on the facts plead at ¶¶ 8 - 26 above and elsewhere in this complaint,
 25   Defendants failed to provide and then maintain any accessible features in its parking,
 26   path of travel, on or off the property site for rental services and website rental
 27   services. Plaintiffs are informed, believe, and thereon allege that Defendants
 28

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  1
      discriminated against the named Plaintiffs in violation of this provision.
  2

  3
      CLAIM XIII: Association

  4   47.    Based on the facts plead at ¶¶ 8 - 26 above and elsewhere in this complaint,
  5   Plaintiffs are informed, believe, and thereon allege that Defendants discriminated
  6
      against the named Plaintiffs in violation of 42 U.S.C. § 12182(b)(1)(E)
  7
            DISCRIMINATORY PRACTICES IN PUBLIC ACCOMMODATIONS
  8
             FOURTH CAUSE OF ACTION: ONLY THE INDIVIDUALL NAMED
  9
      PLAINTIFF AGAINST ALL DEFENDANTS - CLAIMS UNDER CALIFORNIA
 10
                                      ACCESSIBILITY LAWS
 11
      CLAIM I: Denial Of Full And Equal Access
 12
      48. Based on the facts plead at ¶¶ 8 - 26 above and elsewhere in this complaint, the
 13
      named Individual Plaintiff was denied full and equal access to Defendants' goods.
 14
      services, facilities, privileges, advantages, or accommodations within a public
 15
      accommodation owned, leased, and/or operated by Defendants as required by Civil
 16
      Code Sections 54, 54.1, and specifically 54.1(d). The factual basis for this claim is at
 17
      18-28 above.
 18
      CLAIM II: Failure To Modify Practices, Policies And Procedures
 19
      49.    Based on the facts plead at ¶¶ 8 - 26 above and elsewhere in this complaint,
 20
      the named Individual Plaintiff was denied full and equal access to Defendants' goods.
 21
      Defendants failed and refused to provide a reasonable alternative by modifying its
 22

 23
      practices, policies, and procedures in that they failed to have a scheme, plan, or

 24
      design to assist Plaintiff Members and/or others similarly situated in entering and

 25
      utilizing Defendants' services as required by Civil Code § 54.1. The factual basis for

 26
      this claim is at 18-28 above.

 27
      CLAIM III: Violation Of The Unruh Act

 28

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  1
      50.   Based on the facts plead at ¶¶ 8 - 26 above and elsewhere in this complaint,
  2
      the individual, the named Individual Plaintiff was denied full and equal access to
  3
      Defendants' goods. Defendants violated the CA Civil Code § 51 by specifically
  4
      failing to comply with Civil Code §51(f). Defendants' facility violated state
  5
      disability laws, the ANSI Standards, A117, and California's Title 24 Accessible
  6
      Building Code by failing to provide equal access to Defendants’ facilities.
  7
      Defendants did and continue to discriminate against Plaintiff Members in violation
  8
      of Civil Code §§ 51(f), and 52. The factual basis for this claim is at 18-28 above.
  9
                 Treble Damages Pursuant To California Accessibility Laws
 10
      51.   Based on the facts plead at ¶¶ 8 - 26 above and elsewhere in this complaint,
 11
      only the named Individual Plaintiff prays for an award of treble damages against
 12
      Defendants, and each of them, pursuant to California Civil Code sections 52(a) and
 13
      54.3(a). Defendants, each of them respectively, at times prior to and including the
 14
      day the named Individual Plaintiff attempted patronized Defendants’ facilities and
 15
      rental services, and continuing to the present time, knew that persons with physical
 16
      disabilities were denied their rights of equal access. Despite such knowledge,
 17
      Defendants, and each of them, failed and refused to take steps to comply with the
 18
      applicable access statutes; and despite knowledge of the resulting problems and
 19
      denial of civil rights thereby suffered by the named Individual Plaintiff. Defendants,
 20
      and each of them, have failed and refused to take action to grant full and equal access
 21
      to the individual Plaintiff in the respects complained of hereinabove. Defendants,
 22
      and each of them, have carried out a course of conduct of refusing to respond to, or
 23
      correct complaints about, denial of disabled access and have refused to comply with
 24
      their legal obligations to make Defendants’ public accommodation facilities and
 25
      rental services accessible pursuant to the ADAAG and Title 24 of the California
 26
      Code of Regulations (also known as the California Building Code). Such actions
 27
      and continuing course of conduct by Defendants in conscious disregard of the rights
 28

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  1
      and/or safety of the named Individual Plaintiff justify an award of treble damages
  2
      pursuant to sections 52(a) and 54.3(a) of the California Civil Code.
  3

  4
                          DEMAND FOR JUDGMENT FOR RELIEF:
  5
      A.     All named Plaintiffs seeks injunctive relief pursuant to 42 U.S.C. 3613(c) and
  6
      42 U.S.C. § 12188(a). Only the named Individual Plaintiff seeks injunctive relief
  7
      pursuant to CA Civil Code §52. Pursuant to 42 U.S.C. 3613(c), all Plaintiffs request
  8
      this court to enjoin Defendants to cease their discriminatory practices in housing
  9
      rental services, rental housing management services, and for Defendants to
 10
      implement written policies and methods to respond to reasonable accommodation
 11
      and reasonable modification requests. Pursuant to 42 U.S.C. § 12188(a), Plaintiffs
 12
      request this Court enjoin Defendants to remove all barriers to equal access to the
 13
      disabled Plaintiffs in, at, or on their facilities, including but not limited to
 14
      architectural and communicative barriers in the provision of Defendants’ rental
 15
      services. Plaintiffs do not seek injunctive relief pursuant to Cal. Civil Code §55 and
 16
      Plaintiffs do not seek attorneys’ fees pursuant to Cal. Civil Code §55. Plaintiffs do
 17
      not seek any relief at all pursuant to Cal. Civil Code §55.
 18
      B.     All named Plaintiffs seek actual damages pursuant to 42 U.S.C. 3613(c).
 19
      However, Plaintiff Club only seeks damages for itself. Plaintiff Club does not seek
 20
      damages on behalf of its members;
 21
      C. Only the named Individual Plaintiff seeks recovery of actual damages pursuant
 22
      to Cal. Civil Code §§ 52 or 54.3;
 23
      D.     Only the named Individual Plaintiff seeks $4,000 in minimum statutory
 24
      damages pursuant to Cal. Civil Code § 52 for each and every offense of Civil Code §
 25
      51, pursuant to Munson v. Del Taco, (June 2009) 46 Cal. 4th 661;
 26
      E.     In the alternative to the damages pursuant to Cal. Civil Code § 52 in Paragraph
 27
      C above, only the named individual Plaintiff seeks $1,000 in minimum statutory
 28

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  1
      damages pursuant to Cal. Civil Code § 54.3 for each and every offense of Civil Code
  2
      § 54.1;
  3
      F.    All named Plaintiffs seek attorneys' fees pursuant to 42 U.S.C. 3613(c)(2), 42
  4
      U.S.C. § 12205, and Cal. Civil Code §§ 52, 54.3;
  5
      G.    Only the named individual Plaintiff seeks treble damages pursuant to Cal.
  6
      Civil Code §§ 52(a) or 54.3(a);
  7
      H.    The named Plaintiffs are seeking perspective injunctive relief to require the
  8
      Defendants to provide obvious reasonable accommodations, to provide the required
  9
      auxiliary aids and to modify Defendants’ procedures, practices, and policies of the
 10
      Defendants in the provision of Defendants’ rental services. Without perspective
 11
      relief the Plaintiffs will suffer future harm.
 12
      I.    All named Plaintiffs seek a Jury Trial and;
 13
      J.    For such other further relief as the court deems proper.
 14

 15   Respectfully submitted:
 16
                                                       LIGHTNING LAW, APC
 17
      Dated: August 2, 2024
 18
                                               By:     /s/David C. Wakefield
 19                                                    DAVID C. WAKEFIELD, ESQ.
 20
                                                       Attorney for Plaintiffs

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